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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
21
      CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                PLAINTIFFS’ ADMINISTRATIVE
23    individually and on behalf of all similarly
      situated,                                     MOTION TO CONSIDER WHETHER
                                                    GOOGLE’S MATERIAL SHOULD BE
24                                                  SEALED
                    Plaintiffs,
25
      vs.
26                                                  The Honorable Susan van Keulen
      GOOGLE LLC,
27
                    Defendant.
28

     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER GOOGLE’S MATERIAL SHOULD BE SEALED
                                                                   Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 614 Filed 06/24/22 Page 2 of 3




1            Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2    Google LLC’s (“Google”) material should be sealed. The material is included within Plaintiffs’
3    Administrative Motion Regarding the Court’s May 20, 2022 Order (“Plaintiffs’ Administrative
4    Motion”)
5     Document or Portion of Document                Party Claiming          Basis for Sealing
      Sought to Be Sealed                            Confidentiality
6     Plaintiffs’ Administrative Motion              Google                  Contains Material Designated
                                                                             “Highly Confidential” by
7
                                                                             Google pursuant to the
8                                                                            Protective Order
      Exhibit A to the Declaration of Mark           Google                  Material Designated “Highly
9     Mao                                                                    Confidential” by Google
                                                                             pursuant to the Protective
10                                                                           Order
11    Exhibit B to the Declaration of Mark           Google                  Material Designated “Highly
      Mao                                                                    Confidential” by Google
12                                                                           pursuant to the Protective
                                                                             Order
13

14
             Pursuant to Civil Local Rule 79-5(f), Google, as the Designating Party, bears the
15
     responsibility to establish that its designated material is sealable.
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17
     Dated: June 24, 2022                            Respectfully submitted,
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                                                                 Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 614 Filed 06/24/22 Page 3 of 3



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26                                            Attorneys for Plaintiffs

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                                                                 Case No. 4:20-cv-03664-YGR-SVK
